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 6
 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     JULIA DIANE ENRIQUEZ, individually and as    ) CASE NO. 1:10-CV-00581-AWI-DLB
11   successor-in-interest to STEVEN ANTHONY      )
     VARGAS, Deceased; JANE CARLOS                )
12   VARGAS; AMADO VARGAS; STEVEN                 ) STIPULATED DISMISSAL AND
     ANTHONY VARGAS, JR. (a minor through his     ) ORDER
13   guardian ad litem, JULIA DIANE ENRIQUEZ);    )
     ANGELO ALECZANDER VARGAS (a minor            )
14   through his guardian ad litem, JULIA DIANE   )
     ENRIQUEZ); JOSE BLAS FIGUEROA, JR. (a        )
15   minor through his guardian ad litem, JULIA   )
     DIANE ENRIQUEZ); HAILEY ROSE                 )
16   FIGUEROA (a minor through his guardian ad    )
     litem, JULIA DIANE ENRIQUEZ); and LEAH       )
17   REALYNN GORTAREZ-ENRIQUEZ (a minor           )
     through his guardian ad litem, JULIA DIANE   )
18   ENRIQUEZ),                                   )
                                                  )
19                  Plaintiffs,                   )
                                                  )
20                  vs.                           )
                                                  )
21   CITY OF FRESNO, a municipal corporation;     )
     JERRY DYER, individually and in his capacity )
22   as a Chief of Police for the CITY OF FRESNO; )
     MIKE PALOMINO, individually and in his       )
23   capacity as a police officer for the CITY OF )
     FRESNO; and DOES 1 through 50, inclusive,    )
24                                                )
                    Defendants.                   )
25   _______________________________________ )
26           Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, plaintiffs JULIA DIANE
27   ENRIQUEZ, individually and as successor-in-interest to STEVEN ANTHONY VARGAS,
28   Deceased; JANE CARLOS VARGAS; AMADO VARGAS; STEVEN ANTHONY VARGAS, JR.

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     Stipulated Dismissal and Order
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 1   (a minor through his guardian ad litem, JULIA DIANE ENRIQUEZ); ANGELO ALECZANDER
 2   VARGAS (a minor through his guardian ad litem, JULIA DIANE ENRIQUEZ); JOSE BLAS
 3   FIGUEROA, JR. (a minor through his guardian ad litem, JULIA DIANE ENRIQUEZ); HAILEY
 4   ROSE FIGUEROA (a minor through his guardian ad litem, JULIA DIANE ENRIQUEZ); and
 5   LEAH REALYNN GORTAREZ-ENRIQUEZ (a minor through his guardian ad litem, JULIA
 6   DIANE ENRIQUEZ) and defendants CITY OF FRESNO, FRESNO POLICE CHIEF JERRY
 7   DYER, and FRESNO POLICE SERGEANT MICHAEL PALOMINO, through their attorneys of
 8   record, hereby jointly request and stipulate to dismissal of the entire action, with prejudice, all
 9   parties to bear their own costs and attorneys’ fees.
10            IT IS SO STIPULATED.
11   DATED: January 31, 2012
                                                    WEAKLEY & ARENDT, LLP
12
13
                                            By:       /s/ James D. Weakley
14                                                  James D. Weakley
                                                    Attorneys for Defendants
15
16   DATED: January 31, 2012
                                                    MORRISON - FOERSTER, LLP
17
18
                                            By:      /s/ Arturo Gonzalez
19                                                  Arturo Gonzalez
                                                    Attorneys for Plaintiffs
20
21
                                                    ORDER
22
23   IT IS SO ORDERED.
24
     Dated:    February 2, 2012
25   0m8i78                                             CHIEF UNITED STATES DISTRICT JUDGE
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27
28

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     Stipulated Dismissal and Order                     2
